  Case: 1:23-cv-02724 Document #: 116-1 Filed: 03/21/25 Page 1 of 1 PageID #:963




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALLEN ROBINSON,                                       )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )       Case No.: 23CV2724
                                                      )
                                                      )
WAYNE FRANO, VINCENT CELIO, CARL                      )
BRASIC, TIMOTHY MCDERMOTT, JOHN                       )
FOLINO, JR., PATRICK CONROY, DAVID                    )
ZELIG, PETER BABICH, and the CITY OF                  )
CHICAGO,                                              )
                                                      )
                       Defendants.                    )

                                      NOTICE OF FILING

To:    Attorneys of Record

       YOU ARE HEREBY NOTIFIED that on March 21, 2025, there was filed with the Clerk of
the United States District Court for the Northern District of Illinois, Defendants’ Motion to Extend
Fact Discovery, a copy of which is attached hereto.

                                                      /s/ Borkan & Scahill, Ltd.
                                                      BORKAN & SCAHILL, LTD.

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        I certify that I served this Notice by electronically mailing a copy to each person to whom it
is directed at the address above indicated by using the CM/ECF system on March 21, 2025.

                                                      /s/ Drew Wycoff
                                                          Drew Wycoff
                                                          Special Assistant Corporation Counsel
